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23-02-08f
TO: THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

MILWAUKEE DIVISION | Wisco oh astel
UNITED STATES OF AMERICA, ) | | FEB -4 2023
Plaintiff, ) FILED

Clerk of Court___

V. ) Case No. 2:22-cv-00621-PP
Mark Peters, )
and Rosemary Peters, )
Respondents. )

Regarding: The Peter’s Motion to Compel Plaintiff for a Full and Complete Discovery
Response.

1. Note- This document cannot be used to create any form of jurisdiction against Mark
Peters, and Rosemary Peters, for personal jurisdiction, and territorial jurisdiction, is yet to
be proven by the Plaintiff.

2. Note- The Court Administrator of this motion is to take judicial notice of all evidence of
law herein incorporated.

3. Note- The Court Administrator of this motion is to give written findings of facts and
conclusions of law of all denials as to Respondent’s Motion to Compel.

4, The Peter’s, Respondents, moves this Court pursuant to Fed R. Civ. P. 33, 34, and 37 for
full and complete responses to Respondent’s First Discovery Request upon Plaintiff.

5. Respondents (Peter’s) moves this Court pursuant to FED. R. CIV. P. 33, 34, and 37 for
full and complete responses to First Set of Discovery Request, Interrogatories, and
Document Requests, to Plaintiffs.

6. That on or about the date of _O9/2/) /2:2 the Respondents (Peter’s) did mail the

_?#_ individual questions of discovery to Plaintiff.

That on or about the date of 0 %/2/ /.2 the Plaintiff's answer.

8. That Plaintiffs answers have no discovery value, and that Plaintiff's claim they are not
required to answer further due to excessiveness (over the 25-question limit). See
EXHIBIT ‘PR’.

9. The parties engaged in a telephonic meet and confer on February 07, 2023 and were not
able to narrow their discovery disputes.

10. That the discovery is straightforward, and that they could have been answered
accordingly.

11. WHEREFORE, Respondents (Peters) respectfully requests that this Honorable Court
enter an order compelling Plaintiffs to provide full and complete responses to

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Interrogatory No. 1 through__?. And also provide all documents requested to supplement,
give full transparency, as to the Plaintiffs answered Interrogatories.

12. See accompanying ‘Respondants Request for Hearing Date’.

Wy fer

Mark Peters,

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O esis Peters,

Respectfully submitted;

PROOF of SERVICE
I hereby certify that on February 08, 2023, a true and correct copy of the:

‘The Peter’s Motion to Compel Plaintiff for a Full and Complete Discovery Response’, with

‘Request for Hearing Date’,

and was filed with the Court Clerk by hand delivery.

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Mark Peters

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